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                                                                                                         IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                   SAN JOSE DIVISION
                                               11
United States District Court




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                                                                             UNITED STATES OF AMERICA,                             Case No. CR 06-00246 RMW (RS)
                                               13
                               For the Northern District of California




                                                                                            Plaintiff,                             ORDER RE APPOINTMENT OF
                                               14                                                                                  COUNSEL
                                                                               v.
                                               15
                                                                             RAYMOND MORADA,
                                               16
                                                                                            Defendants.
                                               17                                                                      /
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                                                                                      Good cause appearing therefor, upon reviewing his financial affidavit,
                                               19
                                                                                      IT IS HEREBY ORDERED that defendant Ray Morada is qualified for the
                                               20
                                                                             appointment of counsel in the above-captioned case conditioned upon a monthly contribution
                                               21
                                                                             of $200 (two hundred dollars) to the Criminal Justice Fund.
                                               22
                                                                                      IT IS SO ORDERED.
                                               23
                                                                             Dated:     4/20/2006
                                               24                                                                          PATRICIA V. TRUMBULL
                                                                                                                           United States Magistrate Judge
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United States District Court




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                               For the Northern District of California




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United States District Court




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                               For the Northern District of California




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